APPENDIX A
               OFFICIAL NOTICE FROM COURT OF CRIMINAL APPEALS OF TEXAS
                                                                          FILE COPY
                   P.O. BOX 12308, CAPITOL STATION, AUSTIN, TEXAS 78711




4/4/2022
ESCOBAR, ARELI CARBAJAL Tr. Ct. No. D-1-DC-09-301250-B WR-81,574-02
This is to advise that the State’s suggestion for reconsideration has been denied
without written order.
                                                          Deana Williamson, Clerk

                            ARELI CARBAJAL ESCOBAR
                            C/O BRAD LEVENSON
                            OFFICE OF CAPITAL WRIT
                            1700 N. CONGRESS, STE. 460
                            AUSTIN, TX 78711
               OFFICIAL NOTICE FROM COURT OF CRIMINAL APPEALS OF TEXAS
                                                                          FILE COPY
                   P.O. BOX 12308, CAPITOL STATION, AUSTIN, TEXAS 78711




4/4/2022
ESCOBAR, ARELI CARBAJAL Tr. Ct. No. D-1-DC-09-301250-B WR-81,574-02
This is to advise that the State’s suggestion for reconsideration has been denied
without written order.
                                                          Deana Williamson, Clerk

                            PRESIDING JUDGE 167TH DISTRICT COURT
                            P O BOX 1748
                            AUSTIN, TX 78767-1748
                            * DELIVERED VIA E-MAIL *
               OFFICIAL NOTICE FROM COURT OF CRIMINAL APPEALS OF TEXAS
                                                                          FILE COPY
                   P.O. BOX 12308, CAPITOL STATION, AUSTIN, TEXAS 78711




4/4/2022
ESCOBAR, ARELI CARBAJAL Tr. Ct. No. D-1-DC-09-301250-B WR-81,574-02
This is to advise that the State’s suggestion for reconsideration has been denied
without written order.
                                                          Deana Williamson, Clerk

                            DISTRICT CLERK TRAVIS COUNTY
                            VELVA L. PRICE
                            P.O. BOX 679003
                            AUSTIN, TX 78767
                            * DELIVERED VIA E-MAIL *
               OFFICIAL NOTICE FROM COURT OF CRIMINAL APPEALS OF TEXAS
                                                                          FILE COPY
                   P.O. BOX 12308, CAPITOL STATION, AUSTIN, TEXAS 78711




4/4/2022
ESCOBAR, ARELI CARBAJAL Tr. Ct. No. D-1-DC-09-301250-B WR-81,574-02
This is to advise that the State’s suggestion for reconsideration has been denied
without written order.
                                                          Deana Williamson, Clerk

                            BENJAMIN WOLFF
                            OFFICE OF CAPITAL AND FORENSIC WRITS
                            1700 NORTH CONGRESS AVE SUITE 460
                            AUSTIN, TX 78701
                            * DELIVERED VIA E-MAIL *
               OFFICIAL NOTICE FROM COURT OF CRIMINAL APPEALS OF TEXAS
                                                                          FILE COPY
                   P.O. BOX 12308, CAPITOL STATION, AUSTIN, TEXAS 78711




4/4/2022
ESCOBAR, ARELI CARBAJAL Tr. Ct. No. D-1-DC-09-301250-B WR-81,574-02
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without written order.
                                                          Deana Williamson, Clerk

                            EDWARD L. MARSHALL
                            ASSISTANT ATTORNEY GENERAL
                            PO BOX 12548
                            AUSTIN, TX 78711
                            * DELIVERED VIA E-MAIL *
               OFFICIAL NOTICE FROM COURT OF CRIMINAL APPEALS OF TEXAS
                                                                          FILE COPY
                   P.O. BOX 12308, CAPITOL STATION, AUSTIN, TEXAS 78711




4/4/2022
ESCOBAR, ARELI CARBAJAL Tr. Ct. No. D-1-DC-09-301250-B WR-81,574-02
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                                                          Deana Williamson, Clerk

                            DISTRICT ATTORNEY TRAVIS COUNTY
                            PO BOX 1748
                            AUSTIN, TX 78767
                            * DELIVERED VIA E-MAIL *
